          Case 24-16991-ABA                          Doc          Filed 10/25/24 Entered 10/25/24 12:35:21          Desc Main
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bkf




      Fill in this information to identify the case:

       Debtor 1        Brad Alan Harley

       Debtor 2
       United States Bankruptcy Court for the: District of New Jersey

       Case number :         24-16991-ABA


Official Form 410S2
Notice of Postpetition Mor tgage Fees, Expenses, and Charges 12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


      Name of               NewRez LLC d/b/a Shellpoint Mortgage Servicing                        Court claim no.                    15
      creditor:                                                                                   (if known):
      Last 4 digits of any number
      you use to identify the                                           9969
      debtor's account:
      Does this notice supplement a prior notice of postpetition fees,
      expenses, and charges?
            [X] No
            [ ] Yes. Date of the last notice.

  Part 1:         Itemize Postpetition Fees, Expenses, and Charges



 Itemize the fees, expenses, and charges incurred on the debtor's mortgage
 account after the petition was filed. Do not include any escrow account
 disbursements or any amounts previously itemized in a notice filed in this
 case. If the court has previously approved an amount, indicate that approval
 in parentheses after the date the amount was incurred.

        Description                                                                              Dates incurred             Amount

       Late Charges                                                                                                 $0.00
       Non-sufficient funds (NSF) fees                                                                              $0.00
       Attorney Fees                                                                                                $0.00
       Filing fees and court costs                                                                                  $0.00
       Bankruptcy/Proof of claim fees                                                        09/20/2024             $475.00
       Appraisal/Broker`s price opinion fees                                                                        $0.00
       Property Inspection Fees                                                                                     $0.00
       Tax Advances (Non-Escrow)                                                                                    $0.00
       Insurance Advances (Non-Escrow)                                                                              $0.00
       Property preservation expenses. Specify:                                                                     $0.00
       Other. Specify: Plan Review Fees                                                      08/06/2024             $475.00
       Other. Specify: 410A Fee                                                                                     $0.00
       Other. Specify: Objection to Confirmation                                                                    $0.00
       Other. Specify:                                                                                              $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.
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Debtor 1 Brad Alan Harley               ________                        Case Number: 24-16991-ABA
                First Name              Middle Name         Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
 and telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of
my knowledge, information, and reasonable belief.


    /s/ Christopher Giacinto                                                       Date
                                                                                          10/25/24
    Signature



Print:                       Christopher Giacinto                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email        PLGinquiries@padgettlawgroup.com
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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF NEW JERSEY
                                                  CAMDEN DIVISION

In Re;
 Brad Alan Harley                                                  Case No.: 24-16991-ABA

Debtor(s)                                                          Chapter: 13

                                                  CERTIFICATE OF SERVICE


  I, hereby certify that on 10/25/24, a true and correct copy of the foregoing document was served via United States Mail with ade-
                                quate prepaid postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Brad Alan Harley
119 Plymouth Pl
Merchantville, NJ 08109-2832

                          By Electronic Mail
Attorney for Debtor
Edward Jacob Gruber
Cibik Law, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102

Trustee
Andrew B Finberg
Office of the Chapter 13 Standing Trustee
535 Route 38
Suite 580
Cherry Hill, NJ 08002

U.S. Trustee
U.S. Trustee
US Dept of Justice
Office of the US Trustee
One Newark Center Ste 2100
Newark, NJ 07102

                                                      /s/ Christopher Giacinto
                                                        Christopher Giacinto
